Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         Plaintiffs,
  v.                                                          Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        Defendant.
  _____________________________________/


           DR. WRIGHT’S OPPOSITION TO MOTION FOR JUDICIAL NOTICE

         Craig Wright submits this opposition to Plaintiff W&K’s Motion for Judicial Notice

  [DE 1002] and Supplemental Motion for Judicial Notice [DE 1006] (together, the “motion”).

                                            Introduction

         W&K’s motion for “judicial notice” may as well be entitled “motion to admit rank

  hearsay,” because that’s what it is. W&K asks the Court to take “judicial notice” of six witness

  statements retrieved from the High Court of Justice, Business and Property Courts of England

  and Wales Commercial Court (the “UK Court”) in an action captioned Ramona Ang v. Reliantco

  Investments Ltd. (the “UK Proceeding”). Though W&K does not specify how it intends to use

  the documents at the July 26 hearing, its intent is obvious: W&K plans to use the documents to

  contend that Dr. Wright submitted statements in the UK Proceeding that contradict information

  he supplied on the Fact Information Sheet (the “FIS”). From there, one supposes, W&K will

  argue that the information contained in (or missing from) the FIS is false because what Dr.




                                                  1
Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 2 of 7




  Wright represented to the UK Court is true. That is hearsay of the plainest sort. 1 The Court

  cannot take “judicial notice” of the witness statements for that purpose under Federal Rule of

  Evidence 201 and, accordingly, the motion fails outright.

                                     Summary of Relevant Facts

         Dr. Wright served the FIS on W&K’s counsel on April 5, 2023. On April 20, 2023,

  W&K moved for sanctions against Dr. Wright for his failure to complete the FIS. [DE 963.] To

  challenge the form’s accuracy, W&K relied in part on one of the witness statements of which it

  asks the Court to take judicial notice: an April 2021 witness statement submitted to the UK

  Court. [DE 963-5; DE 1006-1.] W&K argued that, though Dr. Wright stated on the FIS that he

  “transferred all his assets by 2017,” 2 he told to the UK Court in the April 2021 witness statement

  that he was the beneficial owner of Tulip Trading Limited which, in turn, owns significant

  amounts of bitcoin. [DE 963 at 4-5; 963-5 ¶¶ 34-35.] In other words, W&K offered up the April

  2021 witness statement as proof that Dr. Wright was lying on the FIS.

         W&K also complained in its motion for sanctions that Dr. Wright neglected to answer

  certain of the questions posed on the FIS at all, including questions concerning assets owned by

  his spouse or children. [DE 963 at 6.] Dr. Wright’s response to the motion for sanctions stated

  that he did not have knowledge of or access to his spouse’s financial records and, even if he

  could gain access, UK law would prohibit him from disclosing such third-party financial

  information to W&K. [DE 968 at 4.] Judging by the content of the other five witness statements



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   The classic definition of hearsay being “an out of court statement offered in court for the truth
  of the matter asserted.” Martin v. Allied Interstate, LLC, 192 F. Supp. 3d 1296, 1302 (S.D. Fla.
  2016).
  2
   That is not an accurate representation of the FIS. Dr. Wright stated on the FIS that he did not
  personally own any bank accounts or vehicles, as both were transferred to third parties in 2017.
  [DE 963-1.] Dr. Wright did not state that he had transferred all his assets to third parties by 2017.
                                                   2
Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 3 of 7




  that are the subject of the instant motion, W&K intends to offer them to contend that Dr. Wright

  does, in fact, have access to his spouse’s financial records and, presumably, to argue that he was

  untruthful when he represented otherwise to this Court. But use of these statements for that

  purpose is not permitted, despite W&K’s evident, singular reliance on them.

         The Court scheduled a hearing on the motion for sanctions on July 6, 2023. [DE 973.] In

  a telephone conference with the parties on June 26, 2023, W&K’s counsel said they intended to

  call Dr. Wright as a witness at the hearing. See Transcript of Proceedings, attached as Exhibit A,

  at 8-9. Dr. Wright’s counsel advised the Court that Dr. Wright would not be appearing at the

  hearing. Id. at 10. The Court made clear to W&K’s counsel that it was not ordering Dr. Wright’s

  appearance and that, if W&K wanted to compel his attendance, it should follow the appropriate

  legal process to do that:

         [I]t’s a civil case, it’s not a criminal case. If he wants to waive his appearance and not
         appear, he doesn’t have to be there. But if you want him as a witness, then obviously
         there’s ways to effectuate that … I want to be sure if you want Dr. Wright there, you
         want him there in person, and you want to try to effectuate some sort of process that
         requires him to be there, I will give you that opportunity.

  Id. at 10-11. The Court then rescheduled the hearing for approximately four weeks out, in part, to

  give W&K’s counsel time to effectuate Dr. Wright’s attendance. In response, W&K did nothing

  to compel Dr. Wright’s testimony. Instead, it filed the instant motion requesting that the Court

  “take judicial notice” of the witness statements in hopes that it could persuade the Court to

  “hear” Dr. Wright testify about his finances through papers submitted years ago in a foreign

  proceeding, and then leverage those statements to dispute the representations Dr. Wright made

  on the FIS (and related briefing) about his finances today. This, W&K cannot do.




                                                   3
Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 4 of 7




                                               Argument

         Rule 201 of the Federal Rules of Evidence permits a Court to judicially notice only “a

  fact that is not subject to reasonable dispute because it: (1) is generally known within the trial

  court’s territorial jurisdiction; or (2) can be accurately and readily determined from sources

  whose accuracy cannot reasonably be questioned.” W&K does not contend that the witness

  statements fall into the first category (they couldn’t possibly) but tries to squeeze them into the

  second. They don’t fit there either.

         By the plain language of Rule 201, a court may only judicially notice a fact that is “not

  subject to reasonable dispute.” Fed. R. Evid. R. 201; see also U.S. v. Jones, 29 F.3d 1549, 1553

  (11th Cir. 1994) (“[I]n order for a fact to be judicially noticed under Rule 201(b), indisputability

  is a prerequisite.”). As the Eleventh Circuit has explained, “the taking of judicial notice of facts

  is, as a matter of evidence law, a highly limited process. The reason for this caution is that the

  taking of judicial notice bypasses the safeguards which are involved with the usual process of

  proving facts by competent evidence in district court.” Kerruish v. Essex Holdings, Inc., 777 F.

  App’x 285, 293–94 (11th Cir. 2019) (quoting Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir.

  1997) (en banc) (per curiam)).

         By their very nature, statements made in affidavits and declarations—which typically are

  made for the purpose of establishing a fact that is in dispute—do not qualify. Baker v. Nextel S.

  Corp., 2009 WL 1703276, at *2 (S.D. Fla. May 26, 2009) (declining to take judicial notice of

  declaration submitted in another action and noting that “[f]acts in the judicial record that are

  subject to dispute, such as allegations in affidavits, declarations, and probation reports, are not

  the proper subjects of judicial notice even though they are in a court record”) (internal citation

  omitted). To the extent judicial notice of a witness statement is appropriate, a court may take



                                                    4
Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 5 of 7




  notice only of the fact of the statement’s existence—not its contents. See Campo v. Granite

  Servs. Int'l, Inc., 584 F. Supp. 3d 1329, 1335–36 (N.D. Ga. 2022) (declining to take judicial

  notice of declaration where defendants were, as here, “not requesting judicial notice simply to

  establish the fact of such litigation and related filings” but “to establish the truth of the assertions

  contained in the filing itself.”); Suncoast Waterkeeper v. City of Gulfport, 2017 WL 1632984, at

  *4 (M.D. Fla. May 1, 2017) (taking judicial notice of “fact that declarations were filed” but not

  their contents); see also MB Plaza, LLC v. Wells Fargo Bank, NA, 2011 WL 3703143, at *1

  (S.D. Fla. Aug. 23, 2011) (taking judicial notice of state court filings “but not for the truth of the

  matter asserted herein”). 3

          While in one breath stating that it is “simply” requesting that the Court take judicial

  notice that Dr. Wright made the witness statements in the UK Court and not asking the Court to

  accept the veracity of the statements, W&K emphasizes with the next breath that the statements

  contain a “statement of truth” signed by Dr. Wright, attesting that “the information contained

  therein is true.” (Motion at 4.) W&K is therefore, quite obviously, intending to ask the Court to

  accept the content of the statements as true—in the absence of Dr. Wright’s or anyone else’s

  testimony about them. That’s a thinly veiled and entirely improper attempt to introduce pure

  hearsay, not a proper request for judicial notice.

          If W&K wished to examine Dr. Wright about the witness statements, it could have sought

  to compel his testimony through the appropriate legal process. It didn’t even try. It can’t now try

  to introduce years-old foreign witness statements in lieu of his testimony. The motion fails.




  3
    The cases cited by W&K do not hold otherwise. See, e.g., Tahaya Misr Inv., Inc. v. Helwan
  Cement S.A.E., 2016 WL 4072332, at *1 n.3 (C.D. Cal. Jul. 27, 2016) (taking judicial notice of
  the existence of foreign court documents, but not accepting them for truth of their contents.”)


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Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 6 of 7




                                               Conclusion

            For the good reasons set forth above, the Court should deny the motion for judicial

  notice.

  Dated: July 25, 2023

                                                         Respectfully submitted,
                                                         RIVERO MESTRE LLP
                                                         2525 Ponce de Leon Boulevard,
                                                         Suite 1000
                                                         Miami, Florida 33134
                                                         Telephone: (305) 445-2500
                                                         Fax: (305) 445-2505
                                                         Email: arivero@riveromestre.com
                                                         Email: abrown@riveromestre.com
                                                         Email: ahenry@riveromestre.com
                                                         Email: rkuntz@riveromestre.com
                                                         Email: receptionist@riveromestre.com
                                                         Counsel for Dr. Craig Wright
                                                         By: s/ Andres Rivero
                                                         ANDRES RIVERO
                                                         Florida Bar No. 613819
                                                         AMY C. BROWN
                                                         Admitted Pro Hac Vice
                                                         ALLISON HENRY
                                                         Florida Bar No. 1003008
                                                         ROBERT KUNTZ
                                                         Florida Bar No. 94668




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Case 9:18-cv-80176-BB Document 1017 Entered on FLSD Docket 07/25/2023 Page 7 of 7




                                   CERTIFICATE OF SERVICE

         I certify that on July 25, 2023, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record by transmission of Notices of Electronic Filing generated by CM/ECF.


                                                        By: /s/ Andrés Rivero.
                                                           Andrés Rivero




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